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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,
                                             Case No. 1:18-cv-05774-AT
v.

ECOVEST CAPITAL, INC., et al.

                   Defendants.


          JOINT MOTION FOR ENTRY OF FINAL JUDGMENT
     AGAINST DEFENDANTS ECOVEST CAPITAL, INC., ALAN SOLON,
     RALPH TEAL, ROBERT MCCULLOUGH, AND CLAUD CLARK III

       The United States; EcoVest Capital, Inc., Alan Solon, Ralph Teal, and

Robert McCullough (collectively, “the EcoVest Parties”); and Claud Clark III

have negotiated the terms of a consent injunction and have filed stipulations for

entry of final judgment (ECF Nos. 413 and 414). The parties have also filed a

stipulated notice of voluntary dismissal regarding Clark’s counterclaim against the

United States (ECF No. 415).

       Accordingly, the United States, the EcoVest Parties, and Clark respectfully

request that the Court enter the attached (proposed) final judgments, which will

resolve all remaining claims in this case.
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Respectfully submitted by:

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